JS 44 (Rev. 10/20)                                   CIVILDocument
                                   Case 2:21-cv-03665-CMR COVER 1SHEET
                                                                   Filed 08/17/21 Page 1 of 27
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
          Fuquanna Bradley, et al.,                                                                               TPS Parking Management, LLC d/b/a Philadelphia TPS2, et al.,

    (b)   County of Residence of First Listed Plaintiff                 Philadelphia County                     County of Residence of First Listed Defendant              Lake County, IL County
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
     Simon & Simon, PC
     1818 Market St., Suite 2000
     Philadelphia, PA 19103
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                       3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                 (U.S. Government Not a Party)                      Citizen of This State          X 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                            of Business In This State

    2   U.S. Government                  ✖    4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5   X 5
          Defendant                                 (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                       Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                         Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                     TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                            PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                               310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                           315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                     Liability                  367 Health Care/                                                                                    400 State Reapportionment
    150 Recovery of Overpayment              320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment                 Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
    151 Medicare Act                         330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
    152 Recovery of Defaulted                     Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
         Student Loans                       340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)                 345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment                   Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits        ✖       350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits                  355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                           Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability           360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                                Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                             362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                                 Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                          CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                    440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                          441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment               442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                        443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability                   Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property              445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                                 Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                             446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                                 Other                       550 Civil Rights                 Actions                                                                State Statutes
                                             448 Education                   555 Prison Condition
                                                                             560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                          3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                  Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                   (specify)                 Transfer                          Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              28 U.S.C. § 1391(a) (1) and (2)
VI. CAUSE OF ACTION                           Brief description of cause:
                                              Motor Vehicle Accident
VII. REQUESTED IN                                  CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                    UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                                  (See instructions):
      IF ANY                                                               JUDGE                                                               DOCKET NUMBER
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
08/17/2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                         APPLYING IFP                                    JUDGE                           MAG. JUDGE
                            Case 2:21-cv-03665-CMR
                                               UNITED Document   1 Filed
                                                      STATES DISTRICT    08/17/21 Page 2 of 27
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                            DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                           Fuquanna Bradley&Tahesha Callie - 2647 Muhlfeld St., Philadelphia, PA 19142
Address of Plaintiff: ______________________________________________________________________________________________
                                               TPS Parking Mangement, LLC d/b/a Philadelphia TPS2&d/b/a The Parking Spot-840 S Waukegan Rd., Ste.222 Lake Forest,IL 60045
Address of Defendant: ____________________________________________________________________________________________
                                                intersection of Passyunk Ave. & S 63rd St., in Philadelphia, PA.
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                        Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                              Yes                     No    ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                             Yes                     No    ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                     Yes                     No    ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                             Yes                     No     ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case              is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           08/17/2021
DATE: __________________________________                                      Must sign here
                                                              __________________________________________                                       201798
                                                                                                                                   ___________________________________
                                                                           Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                         B.    Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                         1.     Insurance Contract and Other Contracts
      2.     FELA                                                                                 2.     Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                            3.     Assault, Defamation
      4.     Antitrust                                                                            4.     Marine Personal Injury
      5.     Patent                                                                          
                                                                                              ✔     5.     Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                           6.     Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                         7.     Products Liability
      8.     Habeas Corpus                                                                        8.     Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                              9.     All other Diversity Cases
      10.    Social Security Review Cases                                                                 (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

                Marc Simon
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     
     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


           08/17/2021
DATE: __________________________________                                    Sign here if applicable
                                                              __________________________________________                                       201798
                                                                                                                                   ___________________________________
                                                                           Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATION FORM
      Fuquanna Bradley, et al.,                   :                          CIVIL ACTION
                     v.                           :
                                                  :
TPS Parking Management, LLC d/b/a                 :
Philadelphia TPS2, et al.,                        :                          NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   (; )


   08/17/2021                     0DUF6LPRQ                        Fuquanna Bradley&Tahesha Callie
Date                               Attorney-at-law                      Attorney for
                                                 0DUF6LPRQ#JRVLPRQFRP

Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02
      Case 2:21-cv-03665-CMR Document 1 Filed 08/17/21 Page 4 of 27




                     UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________
Fuquanna Bradley                         :
2647 Muhlfeld St.                        :
Philadelphia, PA 19142                   :          #
                                    And :
Tahesha Callie                           :
2647 Muhlfeld St.                        :
Philadelphia, PA 19142                   :
                            Plaintiffs   :
v.                                       :
                                         :
TPS Parking Management, LLC d/b/a        :
Philadelphia TPS2                        :
840 S Waukegan Rd., Suite 222            :
Lake Forest, IL 60045`                   :
                                   And   :
TPS Parking Management, LLC d/b/a The :
Parking Spot                             :
840 S Waukegan Rd., Suite 222            :
Lake Forest, IL 60045                    :
                            Defendant(s) :
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                                           COMPLAINT

                                              PARTIES

        1.      Plaintiff, Fuquanna Bradley, is a resident of the Commonwealth of Pennsylvania,

residing at the address listed in the caption of this Complaint.

        2.      Plaintiff, Tahesha Callie, is a resident of the Commonwealth of Pennsylvania,

residing at the address listed in the caption of this Complaint.

        3.      Defendant, TPS Parking Management, LLC d/b/a Philadelphia TPS2, is a

corporate entity authorized to conduct business in the State of Illinois, with a business address

listed in the caption of this Complaint.

        4.      Defendant, TPS Parking Management, LLC d/b/a The Parking Spot, is a

corporate entity authorized to conduct business in the State of Illinois, with a business address

listed in the caption of this Complaint.

                                 JURISDICTION AND VENUE

        5.      This Court has jurisdiction over the parties and subject matter of this Civil

Action-Complaint in that the Plaintiffs, Fuquanna Bradley and Tahesha Callie, are citizens of

Pennsylvania, and the Defendants, TPS Parking Management, LLC d/b/a Philadelphia TPS2 and

TPS Parking Management, LLC d/b/a The Parking Spot, upon information and belief are

corporate entities with their principal place of business in Illinois and the amount in controversy

in this case, exclusive of interest and costs, exceeds the sum of $75,000.

        6.      Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(a) (1) and (2) in

that this is a judicial district in which a substantial part of the events or omissions giving rise to

the claims asserted in this Complaint occurred in this judicial district.

                                               FACTS
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       7.      On or about December 23, 2019, Plaintiff, Fuquanna Bradley, was the operator

of a motor vehicle, in which Plaintiff, Tahesha Callie, was a passenger, which was traveling at

or near the intersection of Passyunk Ave. & S 63rd St., in Philadelphia, PA.

       8.      At or about the same date and time, a driver for TPS Parking Management, LLC

d/b/a Philadelphia TPS2 and TPS Parking Management, LLC d/b/a The Parking Spot, was the

operator of a motor vehicle, owned by Defendants, TPS Parking Management, LLC d/b/a

Philadelphia TPS2 and TPS Parking Management, LLC d/b/a The Parking Spot, which was

traveling at or around the aforementioned location of the Plaintiff’s vehicle.

       9.      At or about the same date and time, Defendants’ vehicle was involved in a collision

with Plaintiff’s vehicle.

       10.     At all times relevant hereto, a driver for, TPS Parking Management, LLC d/b/a

Philadelphia TPS2 and TPS Parking Management, LLC d/b/a The Parking Spot, was operating

the aforesaid Defendant, TPS Parking Management, LLC d/b/a Philadelphia TPS2 and TPS

Parking Management, LLC d/b/a The Parking Spot’s, vehicle as an agent, servant and/or

employee, acting within the scope of it’s agency.

       11.     The aforesaid motor vehicle collision was the result of Defendant, negligently,

and/or carelessly, operating his/her vehicle in such a manner so as to rear-end Plaintiffs’ vehicle.

       12.     The aforesaid motor vehicle collision was a direct result of the negligence, and/or

carelessness of the Defendants and not the result of any action or failure to act by the Plaintiffs.

       13.     As a result of the collision, Plaintiff suffered severe and permanent injuries,

including to the neck and back, as are more fully set forth below.

                                     COUNT I
      Fuquanna Bradley v. TPS Parking Management, LLC d/b/a Philadelphia TPS2
                               Negligent Entrustment
         Case 2:21-cv-03665-CMR Document 1 Filed 08/17/21 Page 7 of 27




        14.     Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth

fully at length herein.

        15.     The negligence, and/or carelessness of the Defendant, which was the proximate

cause of the aforesaid motor vehicle collision and the resultant injuries sustained by the

Plaintiff, consisted of but are not limited to the following:

                 a. Permitting a driver for TPS Parking Management, LLC d/b/a Philadelphia

                     TPS2, to operate the motor vehicle without first ascertaining whether or not

                     he was capable of properly operating said vehicle;

                 b. Permitting a driver for TPS Parking Management, LLC d/b/a Philadelphia

                     TPS2, to operate the motor vehicle when Defendant, TPS Parking

                     Management, LLC d/b/a Philadelphia TPS2, knew, or in the exercise of due

                     care and diligence, should have known that a driver for TPS Parking

                     Management, LLC d/b/a Philadelphia TPS2, was capable of committing the

                     acts of negligence set forth above;

                 c. Failing to warn those persons, including the Plaintiff, that Defendant, TPS

                     Parking Management, LLC d/b/a Philadelphia TPS2, knew, or in the

                     existence of due care and diligence should have known, that the Plaintiff

                     would be exposed to a driver for TPS Parking Management, LLC d/b/a

                     Philadelphia TPS2’s negligent operation of the motor vehicle; and

                 d. Otherwise negligently entrusting said vehicle to said individual a driver for

                     TPS Parking Management, LLC d/b/a Philadelphia TPS2.

        16.     As a direct and consequential result of the negligent, and/or careless conduct of

the defendant, described above, the Plaintiff suffered various serious and permanent personal
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injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or

aggravation of pre-existing conditions, including to the neck and back, all to Plaintiff’s great

loss and detriment.

       17.       As a result of these injuries, all of which are permanent in nature and all of

which are to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently

and may in the future suffer great anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

       18.      As an additional result of the carelessness, and/or negligence of Defendant,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

       19.      As a further result of Plaintiff’s injuries, he/she has in the past, is presently and

may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s

further loss and detriment.

       20.     Furthermore, in addition to all the injuries and losses suffered by Plaintiff,

Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an

amount equal to and/or in excess of the basic personal injury protection benefits required by the

Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, et. Seq., as

amended, for which he/she makes a claim for payment in the present action.

       WHEREFORE, Plaintiff, Fuquanna Bradley, prays for judgment in plaintiff’s favor and

against Defendant, TPS Parking Management, LLC d/b/a Philadelphia TPS2, in an amount in

excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court

deems necessary.

                                     COUNT II
      Fuquanna Bradley v. TPS Parking Management, LLC d/b/a Philadelphia TPS2
                                Respondeat Superior
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        21.     Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth

fully at length herein.

        22.     The negligence, and/or carelessness of the Defendant, TPS Parking Management,

LLC d/b/a Philadelphia TPS2, itself and by and through its agent, servant and/or employee, a

driver for TPS Parking Management, LLC d/b/a Philadelphia TPS2, acting at all times relevant

hereto within the scope of it’s agency, which was the direct and proximate cause of the

aforesaid motor vehicle collision and the resultant injuries sustained by the plaintiffs, consisted

of but are not limited to the following:

                 a. Rear-ending Plaintiff’s vehicle while vehicle was stopped at a red light;

                 b. Operating his/her vehicle into Plaintiff’s lane of travel;

                 c. Failing to maintain proper distance between vehicles;

                 d. Operating said vehicle in a negligent, and/or careless manner so as to rear-

                     end Plaintiff’s vehicle, without regard for the rights or safety of Plaintiffs or

                     others;

                 e. Failing to have said vehicle under proper and adequate control;

                 f. Operating said vehicle at a dangerous and excessive rate of speed under the

                     circumstances;

                 g. Violation of the assured clear distance rule;

                 h. Failure to keep a proper lookout;

                 i. Failure to apply brakes earlier to stop the vehicle without rear-ending the

                     Plaintiff’s vehicle;

                 j. Being inattentive to his/her duties as an operator of a motor vehicle;

                 k. Disregarding traffic lanes, patterns, and other devices;
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               l. Driving at a high rate of speed which was high and dangerous for

                   conditions;

               m. Failing to remain continually alert while operating said vehicle;

               n. Failing to perceive the highly apparent danger to others which the actions

                   and/or inactions posed;

               o. Failing to give Plaintiffs meaningful warning signs concerning the

                   impending collision;

               p. Failing to exercise ordinary care to avoid a rear-end collision;

               q. Failing to be highly vigilant and maintain sufficient control of said vehicle

                   and to bring it to a stop on the shortest possible notice;

               r. Operating said vehicle with disregard for the rights of Plaintiff, even though

                   he/she was aware or should have been aware of the presence of Plaintiff and

                   the threat of harm posed to him/her;

               s. Continuing to operate the vehicle in a direction towards the Plaintiff’s

                   vehicle when he/she saw, or in the exercise of reasonable diligence, should

                   have seen, that further operation in that direction would result in a collision;

               t. Failing to operate said vehicle in compliance with the applicable laws and

                   ordinances of the Commonwealth of Pennsylvania, pertaining to the

                   operation and control of motor vehicles; and

               u. Being otherwise careless and/or negligent under the circumstances.

       23.    As a direct and consequential result of the negligent, and/or careless conduct of

the Defendant, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or
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aggravation of pre-existing conditions, including to the neck and back, all to Plaintiff’s great

loss and detriment.

       24.       As a result of these injuries, all of which are permanent in nature and all of

which are to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently

and may in the future suffer great anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

       25.      As an additional result of the carelessness, and/or negligence of Defendant,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

       26.      As a further result of Plaintiff’s injuries, he/she has in the past, is presently and

may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s

further loss and detriment.

       27.     As a direct result of the negligent, and/or careless conduct of the Defendant,

plaintiff suffered damage to his personal property, including his/her motor vehicle, which

Plaintiff was operating at the time of the aforesaid motor vehicle collision; including but not

limited to, storage fees and towing, all to Plaintiff’s great loss and detriment.

       28.     Furthermore, in addition to all the injuries and losses suffered by Plaintiff,

Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an

amount equal to and/or in excess of the basic personal injury protection benefits required by the

Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, et. Seq., as

amended, for which he/she makes a claim for payment in the present action.

       WHEREFORE, Plaintiff, Fuquanna Bradley, prays for judgment in Plaintiffs’ favor and

against Defendant, TPS Parking Management, LLC d/b/a Philadelphia TPS2, in an amount in
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excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court

deems necessary.

                                      COUNT III
        Tahesha Callie v. TPS Parking Management, LLC d/b/a Philadelphia TPS2
                                 Negligent Entrustment

        29.     Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth

fully at length herein.

        30.     The negligence, and/or carelessness of the Defendant, which was the proximate

cause of the aforesaid motor vehicle collision and the resultant injuries sustained by the

Plaintiff, consisted of but are not limited to the following:

                a. Permitting a driver for TPS Parking Management, LLC d/b/a Philadelphia

                    TPS2, to operate the motor vehicle without first ascertaining whether or not

                    he was capable of properly operating said vehicle;

                b. Permitting a driver for TPS Parking Management, LLC d/b/a Philadelphia

                    TPS2, to operate the motor vehicle when Defendant, TPS Parking

                    Management, LLC d/b/a Philadelphia TPS2, knew, or in the exercise of due

                    care and diligence, should have known that a driver for TPS Parking

                    Management, LLC d/b/a Philadelphia TPS2, was capable of committing the

                    acts of negligence set forth above;

                c. Failing to warn those persons, including the Plaintiff, that Defendant, TPS

                    Parking Management, LLC d/b/a Philadelphia TPS2, knew, or in the

                    existence of due care and diligence should have known, that the Plaintiff

                    would be exposed to a driver for TPS Parking Management, LLC d/b/a

                    Philadelphia TPS2’s negligent operation of the motor vehicle; and
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               d. Otherwise negligently entrusting said vehicle to said individual a driver for

                   TPS Parking Management, LLC d/b/a Philadelphia TPS2

       31.     As a direct and consequential result of the negligent, and/or careless conduct of

the defendant, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or

aggravation of pre-existing conditions, including to the neck and back, all to Plaintiff’s great

loss and detriment.

       32.       As a result of these injuries, all of which are permanent in nature and all of

which are to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently

and may in the future suffer great anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

       33.      As an additional result of the carelessness, and/or negligence of Defendant,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

       34.      As a further result of Plaintiff’s injuries, he/she has in the past, is presently and

may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s

further loss and detriment.

       35.     Furthermore, in addition to all the injuries and losses suffered by Plaintiff,

Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an

amount equal to and/or in excess of the basic personal injury protection benefits required by the

Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, et. Seq., as

amended, for which he/she makes a claim for payment in the present action.

       WHEREFORE, Plaintiff, Tahesha Callie, prays for judgment in plaintiff’s favor and

against Defendant, TPS Parking Management, LLC d/b/a Philadelphia TPS2, in an amount in
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excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court

deems necessary.

                                      COUNT IV
        Tahesha Callie v. TPS Parking Management, LLC d/b/a Philadelphia TPS2
                                  Respondeat Superior

        36.     Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth

fully at length herein.

        37.     The negligence, and/or carelessness of the Defendant, TPS Parking Management,

LLC d/b/a Philadelphia TPS2, itself and by and through its agent, servant and/or employee, a

driver for TPS Parking Management, LLC d/b/a Philadelphia TPS2acting at all times relevant

hereto within the scope of it’s agency, which was the direct and proximate cause of the

aforesaid motor vehicle collision and the resultant injuries sustained by the plaintiffs, consisted

of but are not limited to the following:

                a. Rear-ending vehicle in which Plaintiff was a passenger, while vehicle was

                    stopped at a red light;

                b. Operating his/her vehicle into Plaintiff’s lane of travel;

                c. Failing to maintain proper distance between vehicles;

                d. Operating said vehicle in a negligent, and/or careless manner so as to rear-

                    end vehicle in which Plaintiff was a passenger, without regard for the rights

                    or safety of Plaintiffs or others;

                e. Failing to have said vehicle under proper and adequate control;

                f. Operating said vehicle at a dangerous and excessive rate of speed under the

                    circumstances;

                g. Violation of the assured clear distance rule;
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     h. Failure to keep a proper lookout;

     i. Failure to apply brakes earlier to stop the vehicle without rear-ending the

        vehicle in which Plaintiff was a passenger;

     j. Being inattentive to his/her duties as an operator of a motor vehicle;

     k. Disregarding traffic lanes, patterns, and other devices;

     l. Driving at a high rate of speed which was high and dangerous for conditions;

     m. Failing to remain continually alert while operating said vehicle;

     n. Failing to perceive the highly apparent danger to others which the actions

        and/or inactions posed;

     o. Failing to give Plaintiffs meaningful warning signs concerning the impending

        collision;

     p. Failing to exercise ordinary care to avoid a rear-end collision;

     q. Failing to be highly vigilant and maintain sufficient control of said vehicle

        and to bring it to a stop on the shortest possible notice;

     r. Operating said vehicle with disregard for the rights of Plaintiff, even though

        he/she was aware or should have been aware of the presence of Plaintiff and

        the threat of harm posed to him/her;

     s. Continuing to operate the vehicle in a direction towards the vehicle in which

        Plaintiff was a passenger, when he/she saw, or in the exercise of reasonable

        diligence, should have seen, that further operation in that direction would

        result in a collision;
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               t. Failing to operate said vehicle in compliance with the applicable laws and

                   ordinances of the Commonwealth of Pennsylvania, pertaining to the

                   operation and control of motor vehicles; and

               u. Being otherwise careless and/or negligent under the circumstances.

       38.     As a direct and consequential result of the negligent, and/or careless conduct of

the Defendant, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or

aggravation of pre-existing conditions, including to the neck and back, all to Plaintiff’s great

loss and detriment.

       39.       As a result of these injuries, all of which are permanent in nature and all of

which are to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently

and may in the future suffer great anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

       40.      As an additional result of the carelessness, and/or negligence of Defendant,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

       41.      As a further result of Plaintiff’s injuries, he/she has in the past, is presently and

may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s

further loss and detriment.

       42.     As a direct result of the negligent, and/or careless conduct of the Defendant,

plaintiff suffered damage to his personal property, including his/her motor vehicle, which

Plaintiff was operating at the time of the aforesaid motor vehicle collision; including but not

limited to, storage fees and towing, all to Plaintiff’s great loss and detriment.
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        43.     Furthermore, in addition to all the injuries and losses suffered by Plaintiff,

Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an

amount equal to and/or in excess of the basic personal injury protection benefits required by the

Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, et. Seq., as

amended, for which he/she makes a claim for payment in the present action.

        WHEREFORE, Plaintiff, Tahesha Callie, prays for judgment in Plaintiffs’ favor and

against Defendant, TPS Parking Management, LLC d/b/a Philadelphia TPS2, in an amount in

excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court

deems necessary.

                                     COUNT V
      Fuquanna Bradley v. TPS Parking Management, LLC d/b/a The Parking Spot
                               Negligent Entrustment

        44.     Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth

fully at length herein.

        45.     The negligence, and/or carelessness of the Defendant, which was the proximate

cause of the aforesaid motor vehicle collision and the resultant injuries sustained by the

Plaintiff, consisted of but are not limited to the following:

                a. Permitting a driver for TPS Parking Management, LLC d/b/a The Parking

                    Spot, to operate the motor vehicle without first ascertaining whether or not he

                    was capable of properly operating said vehicle;

                b. Permitting a driver for TPS Parking Management, LLC d/b/a The Parking

                    Spot, to operate the motor vehicle when Defendant, TPS Parking

                    Management, LLC d/b/a The Parking Spot., knew, or in the exercise of due

                    care and diligence, should have known that a driver for TPS Parking
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                   Management, LLC d/b/a The Parking Spot, was capable of committing the

                   acts of negligence set forth above;

               c. Failing to warn those persons, including the Plaintiff, that Defendant, TPS

                   Parking Management, LLC d/b/a The Parking Spot, knew, or in the existence

                   of due care and diligence should have known, that the Plaintiff would be

                   exposed to a driver for TPS Parking Management, LLC d/b/a The Parking

                   Spot’s negligent operation of the motor vehicle; and

               d. Otherwise negligently entrusting said vehicle to said individual a driver for

                   TPS Parking Management, LLC d/b/a The Parking Spot.

       46.     As a direct and consequential result of the negligent, and/or careless conduct of

the defendant, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or

aggravation of pre-existing conditions, including to the neck and back, all to Plaintiff’s great

loss and detriment.

       47.       As a result of these injuries, all of which are permanent in nature and all of

which are to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently

and may in the future suffer great anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

       48.      As an additional result of the carelessness, and/or negligence of Defendant,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

       49.      As a further result of Plaintiff’s injuries, he/she has in the past, is presently and

may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s

further loss and detriment.
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        50.     Furthermore, in addition to all the injuries and losses suffered by Plaintiff,

Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an

amount equal to and/or in excess of the basic personal injury protection benefits required by the

Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, et. Seq., as

amended, for which he/she makes a claim for payment in the present action.

        WHEREFORE, Plaintiff, Fuquanna Bradley, prays for judgment in plaintiff’s favor and

against Defendant, TPS Parking Management, LLC d/b/a The Parking Spot, in an amount in

excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court

deems necessary.

                                    COUNT VI
      Fuquanna Bradley v. TPS Parking Management, LLC d/b/a The Parking Spot
                               Respondeat Superior

        51.     Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth

fully at length herein.

        52.     The negligence, and/or carelessness of the Defendant, TPS Parking Management,

LLC d/b/a The Parking Spot, itself and by and through its agent, servant and/or employee, a

driver for TPS Parking Management, LLC d/b/a The Parking Spot, acting at all times relevant

hereto within the scope of it’s agency, which was the direct and proximate cause of the

aforesaid motor vehicle collision and the resultant injuries sustained by the plaintiffs, consisted

of but are not limited to the following:

                a. Rear-ending Plaintiff’s vehicle, while vehicle was stopped at a red light;

                b. Operating his/her vehicle into Plaintiff’s lane of travel;

                c. Failing to maintain proper distance between vehicles;
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     d. Operating said vehicle in a negligent, and/or careless manner so as to rear-

        end Plaintiff’s vehicle, without regard for the rights or safety of Plaintiffs or

        others;

     e. Failing to have said vehicle under proper and adequate control;

     f. Operating said vehicle at a dangerous and excessive rate of speed under the

        circumstances;

     g. Violation of the assured clear distance rule;

     h. Failure to keep a proper lookout;

     i. Failure to apply brakes earlier to stop the vehicle without rear-ending the

        Plaintiff’s vehicle;

     j. Being inattentive to his/her duties as an operator of a motor vehicle;

     k. Disregarding traffic lanes, patterns, and other devices;

     l. Driving at a high rate of speed which was high and dangerous for conditions;

     m. Failing to remain continually alert while operating said vehicle;

     n. Failing to perceive the highly apparent danger to others which the actions

        and/or inactions posed;

     o. Failing to give Plaintiffs meaningful warning signs concerning the impending

        collision;

     p. Failing to exercise ordinary care to avoid a rear-end collision;

     q. Failing to be highly vigilant and maintain sufficient control of said vehicle

        and to bring it to a stop on the shortest possible notice;
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               r. Operating said vehicle with disregard for the rights of Plaintiff, even though

                   he/she was aware or should have been aware of the presence of Plaintiff and

                   the threat of harm posed to him/her;

               s. Continuing to operate the vehicle in a direction towards the Plaintiff’s vehicle

                   when he/she saw, or in the exercise of reasonable diligence, should have

                   seen, that further operation in that direction would result in a collision;

               t. Failing to operate said vehicle in compliance with the applicable laws and

                   ordinances of the Commonwealth of Pennsylvania, pertaining to the

                   operation and control of motor vehicles; and

               u. Being otherwise careless and/or negligent under the circumstances.

       53.     As a direct and consequential result of the negligent, and/or careless conduct of

the Defendant, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or

aggravation of pre-existing conditions, including to the neck and back, all to Plaintiff’s great

loss and detriment.

       54.       As a result of these injuries, all of which are permanent in nature and all of

which are to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently

and may in the future suffer great anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

       55.      As an additional result of the carelessness, and/or negligence of Defendant,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.
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        56.     As a further result of Plaintiff’s injuries, he/she has in the past, is presently and

may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s

further loss and detriment.

        57.     As a direct result of the negligent, and/or careless conduct of the Defendant,

plaintiff suffered damage to his personal property, including his/her motor vehicle, which

Plaintiff was operating at the time of the aforesaid motor vehicle collision; including but not

limited to, storage fees and towing, all to Plaintiff’s great loss and detriment.

        58.     Furthermore, in addition to all the injuries and losses suffered by Plaintiff,

Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an

amount equal to and/or in excess of the basic personal injury protection benefits required by the

Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, et. Seq., as

amended, for which he/she makes a claim for payment in the present action.

        WHEREFORE, Plaintiff, Fuquanna Bradley, prays for judgment in Plaintiffs’ favor and

against Defendant, TPS Parking Management, LLC d/b/a The Parking Spot, in an amount in

excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court

deems necessary.

                                      COUNT VII
         Tahesha Callie v. TPS Parking Management, LLC d/b/a The Parking Spot
                                 Negligent Entrustment

        59.     Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth

fully at length herein.

        60.     The negligence, and/or carelessness of the Defendant, which was the proximate

cause of the aforesaid motor vehicle collision and the resultant injuries sustained by the

Plaintiff, consisted of but are not limited to the following:
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               a. Permitting a driver for TPS Parking Management, LLC d/b/a The Parking

                   Spot, to operate the motor vehicle without first ascertaining whether or not he

                   was capable of properly operating said vehicle;

               b. Permitting a driver for TPS Parking Management, LLC d/b/a The Parking

                   Spot, to operate the motor vehicle when Defendant, TPS Parking

                   Management, LLC d/b/a The Parking Spot., knew, or in the exercise of due

                   care and diligence, should have known that a driver for TPS Parking

                   Management, LLC d/b/a The Parking Spot, was capable of committing the

                   acts of negligence set forth above;

               c. Failing to warn those persons, including the Plaintiff, that Defendant, TPS

                   Parking Management, LLC d/b/a The Parking Spot, knew, or in the existence

                   of due care and diligence should have known, that the Plaintiff would be

                   exposed to a driver for TPS Parking Management, LLC d/b/a The Parking

                   Spot’s negligent operation of the motor vehicle; and

               d. Otherwise negligently entrusting said vehicle to said individual a driver for

                   TPS Parking Management, LLC d/b/a The Parking Spot.

       61.     As a direct and consequential result of the negligent, and/or careless conduct of

the defendant, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or

aggravation of pre-existing conditions, including to the neck and back, all to Plaintiff’s great

loss and detriment.

       62.       As a result of these injuries, all of which are permanent in nature and all of

which are to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently
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and may in the future suffer great anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

        63.     As an additional result of the carelessness, and/or negligence of Defendant,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

        64.     As a further result of Plaintiff’s injuries, he/she has in the past, is presently and

may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s

further loss and detriment.

        65.     Furthermore, in addition to all the injuries and losses suffered by Plaintiff,

Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an

amount equal to and/or in excess of the basic personal injury protection benefits required by the

Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, et. Seq., as

amended, for which he/she makes a claim for payment in the present action.

        WHEREFORE, Plaintiff, Tahesha Callie, prays for judgment in plaintiff’s favor and

against Defendant, TPS Parking Management, LLC d/b/a The Parking Spot, in an amount in

excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court

deems necessary.

                                      COUNT VIII
         Tahesha Callie v. TPS Parking Management, LLC d/b/a The Parking Spot
                                  Respondeat Superior

        66.     Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth

fully at length herein.

        67.     The negligence, and/or carelessness of the Defendant, TPS Parking Management,

LLC d/b/a The Parking Spot, itself and by and through its agent, servant and/or employee, a

driver for TPS Parking Management, LLC d/b/a The Parking Spot, acting at all times relevant
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hereto within the scope of it’s agency, which was the direct and proximate cause of the

aforesaid motor vehicle collision and the resultant injuries sustained by the plaintiffs, consisted

of but are not limited to the following:

               a. Rear-ending vehicle in which Plaintiff was a passenger, while vehicle was

                   stopped at a red light;

               b. Operating his/her vehicle into Plaintiff’s lane of travel;

               c. Failing to maintain proper distance between vehicles;

               d. Operating said vehicle in a negligent, and/or careless manner so as to rear-

                   end vehicle in which Plaintiff was a passenger, without regard for the rights

                   or safety of Plaintiffs or others;

               e. Failing to have said vehicle under proper and adequate control;

               f. Operating said vehicle at a dangerous and excessive rate of speed under the

                   circumstances;

               g. Violation of the assured clear distance rule;

               h. Failure to keep a proper lookout;

               i. Failure to apply brakes earlier to stop the vehicle without rear-ending the

                   vehicle in which Plaintiff was a passenger;

               j. Being inattentive to his/her duties as an operator of a motor vehicle;

               k. Disregarding traffic lanes, patterns, and other devices;

               l. Driving at a high rate of speed which was high and dangerous for conditions;

               m. Failing to remain continually alert while operating said vehicle;

               n. Failing to perceive the highly apparent danger to others which the actions

                   and/or inactions posed;
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               o. Failing to give Plaintiffs meaningful warning signs concerning the impending

                   collision;

               p. Failing to exercise ordinary care to avoid a rear-end collision;

               q. Failing to be highly vigilant and maintain sufficient control of said vehicle

                   and to bring it to a stop on the shortest possible notice;

               r. Operating said vehicle with disregard for the rights of Plaintiff, even though

                   he/she was aware or should have been aware of the presence of Plaintiff and

                   the threat of harm posed to him/her;

               s. Continuing to operate the vehicle in a direction towards the vehicle in which

                   Plaintiff was a passenger when he/she saw, or in the exercise of reasonable

                   diligence, should have seen, that further operation in that direction would

                   result in a collision;

               t. Failing to operate said vehicle in compliance with the applicable laws and

                   ordinances of the Commonwealth of Pennsylvania, pertaining to the

                   operation and control of motor vehicles; and

               u. Being otherwise careless and/or negligent under the circumstances.

       68.     As a direct and consequential result of the negligent, and/or careless conduct of

the Defendant, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or

aggravation of pre-existing conditions, including to the neck and back, all to Plaintiff’s great

loss and detriment.

       69.       As a result of these injuries, all of which are permanent in nature and all of

which are to Plaintiff’s great financial detriment and loss, Plaintiff has in the past, is presently
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and may in the future suffer great anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

       70.      As an additional result of the carelessness, and/or negligence of Defendant,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

       71.      As a further result of Plaintiff’s injuries, he/she has in the past, is presently and

may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s

further loss and detriment.

       72.     As a direct result of the negligent, and/or careless conduct of the Defendant,

plaintiff suffered damage to his personal property, including his/her motor vehicle, which

Plaintiff was operating at the time of the aforesaid motor vehicle collision; including but not

limited to, storage fees and towing, all to Plaintiff’s great loss and detriment.

       73.     Furthermore, in addition to all the injuries and losses suffered by Plaintiff,

Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an

amount equal to and/or in excess of the basic personal injury protection benefits required by the

Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, et. Seq., as

amended, for which he/she makes a claim for payment in the present action.

       WHEREFORE, Plaintiff, Tahesha Callie, prays for judgment in Plaintiffs’ favor and

against Defendant, TPS Parking Management, LLC d/b/a The Parking Spot, in an amount in

excess of Seventy-Five Thousand ($75,000.00) Dollars, plus all costs and other relief this court

deems necessary.

                                                       SIMON & SIMON, P.C.

                                       BY:__________________________________
                                                   Marc Simon, Esquire
